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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                   CRIMINAL 05-0071CCC
 1) JACOBO GARCIA
 2) ROLANDO ANTONIO PULA-MORETA
 a/k/a Chichi
 3) RICHARD MARTINEZ-CAMACHO
 a/k/a Richie
 4) CECIL STEPHEN DERWEER
 Defendants
                                          ORDER
       Before the Court is the Motion to Withdraw Guilty Plea filed by defendant Jacobo García
on September 26, 2005 (docket entry 116), which the United States’ opposed on October
4, 2005 (docket entry 117).
       Defendant’s motion is based on contradictory statements. While he avers that his
decision to plead guilty was not his choice, but done on the advice of his attorney Luis Rafael
Rivera (Motion, at p. 1, ¶ 1), he also claims that he never discussed with attorney Rivera about
pleading guilty (Motion, at p. 1, ¶¶ 2, 3). In addition, defendant García asserts that attorney
Rivera’s advice that he plead guilty was a strategic move on his part in order to proceed to trial
with a co-defendant he also represents, which he claims constitutes a conflict of interest in
violation of his Sixth Amendment rights.        Defendant also imputes attorney Rivera with
ineffective assistance of counsel due to his failure to move for suppression of tapes and videos
and for not disclosing to him Brady materials produced by the government.
       On October 7, 2005, the Court ordered that the transcript of defendant’s change of
plea hearing be prepared (docket entry 119), and the same was filed on October 13, 2005
(docket entry 120). Subsequently, on November 15, 2005, the Court required the
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preparation of two additional transcripts: that of the aborted change of plea hearing held on
August 24, 2005, and of the Foster hearing held on June 8, 2005. Both of these transcripts
were filed on November 21, 2005 (docket entries 126 & 127).
       We have reviewed the transcripts of defendant’s Foster hearing, aborted change of plea
hearing, and of the completed change of plea hearing. Simply put, these transcripts belie all the
assertions made by defendant in his pro se motion to withdraw guilty plea.
       The transcript of the Foster hearing held on June 8, 2005 (docket entry 126) confirms
that U.S. Magistrate-Judge Delgado-Colón clearly apprised defendant and his co-defendant Cecil
Derweer of the possible conflicts of interests that might arise given that they were being
represented by the same attorney, Luis Rafael Rivera. Still, defendant expressed being pleased
with Rivera’s legal representation, stated that he had discussed the possibility of conflicting
evidence and situations, and affirmed that he had no problem with it. Transcript of June 8,
2005 Foster hearing (Tr. I) (docket entry 126), p. 21, lines 18-25; p. 22, lines 1-2. Thus,
defendant opted to continue with Mr. Rivera as his attorney, Tr. I, p. 23, line 3, and voluntarily
signed the Acknowledgment of Joint Representation form, Tr. I, p. 23, lines 6-22, despite
being warned of the possible conflicts of interest that could result for having the same attorney
that also represented one of his co-defendants.
       The transcript of the aborted change of plea hearing held on August 24, 2005 (docket
entry 127) fails to reflect, as defendant represented in his pro se motion, that he was “confused
with the proceedings” because he had been brought to Court without discussing with his
attorney “about pleading guilty, or any proceedings.” Motion, at p. 1. Rather, what the
transcript does show is that because at the time of that first change of plea hearing there was
pending before the Court a motion requesting a change of venue, defendant did express
confusion but only because he thought that all proceedings, including the change of plea
hearing, would take place at the venue where he sought to transfer the case, i.e. the Virgin
Islands. Transcript of August 24, 2005 Change of Plea Hearing (Tr. II) (docket entry 127),
p. 6, lines 23-25; p. 7, lines 1-3; p. 9, lines 14-22. However, defendant had previously
represented to the Magistrate-Judge that after having discussed the case with his attorney he had
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decided to enter a guilty plea. Tr. II, p. 2, lines 15-19. He never expressed at the time being
confused about his decision to plead guilty, or complained that he had been unable to discuss
that matter with his attorney.
       The transcript of the completed change of plea hearing held on August 25, 2005 (Tr.
III) (docket entry 120), in turn, contains assertions under oath by defendant acknowledging
that no one forced him to plead guilty (Tr. III, p. 23, lines 16-18), admitting the facts of the
offenses charged (Tr. III, p. 36, lines 11-25; p. 37, lines 1-5), and expressing satisfaction with
the services rendered by his attorney (Tr. III, p. 38, lines 15-18), specifically declaring that
attorney Rivera had explained and discussed with him the evidence in possession of the
government (Tr. III, p. 38, lines 20-23) and his options of facing trial or pleading guilty, which
he then represented having understood (Tr. III, p. 38, line 1; p. 39, lines 1-9), and that he
took the initiative of pleading guilty (Tr. III, p. 39, line 25; p. 40, lines 1-4), and was not
forced to so do by his attorney in any way (Tr. III, p. 40, lines 6-8).
       Withdrawing a guilty plea is not an absolute right. United States v. Mercedes-Mercedes,
428 F.3d 355 (1st Cir. 2005). See also Fed.R.Crim.P. 11(d)(2)(B). Prior to the imposition
of sentence, a defendant may be allowed to withdraw his plea if he can establish, to the trial
court's satisfaction, that a "fair and just reason" for withdrawing the plea exists. United States
v. Negrón-Narváez, 403 F.3d 33, 36 (1st Cir. 2005). The burden of persuading the court
that such a reason exists is on the defendant. United States v. Rodríguez-León, 402 F.3d 17,
22 (1st Cir. 2005).
       Several factors must be considered in determining whether a defendant has shown a "fair
and just reason" for withdrawing a plea, the most significant of which is whether the plea was
knowing, voluntary and intelligent within the meaning of Federal Rule of Criminal Procedure 11.
The other factors include 1) the force and plausibility of the proffered reason; 2) the timing of
the request; 3) whether the defendant has asserted his legal innocence; and 4) whether the
parties had reached a plea agreement. United States v. Isom, 85 F.3d 831, 834 (1st Cir.
1996) (quoting United States v. Cotal-Crespo, 47 F.3d 1, 3-4 (1st Cir.1995) (internal
citations omitted)). If those factors weigh in favor of permitting a change of plea, the Court
must then consider the prejudicial effect such a change would have on the prosecution. Id. at
834- 35.
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       Here, the transcript of defendant’s change of plea hearing evidences that his plea of
guilty was knowing, voluntary and intelligent--the Magistrate-Judge thoroughly addressed all
three of Rule 11' s core concerns, and there is nothing in the record which would serve to
indicate that defendant failed to understand the proceedings. Defendant has not asserted in his
motion that he is innocent, having in fact previously insisted on the contrary (see e.g. Tr. III,
p. 39, lines 13-19). His request to withdraw the guilty plea was made nearly one month after
entering it,1 a delay that has been viewed with disfavor by the Court of Appeals. See United
States v. Keefe, 621 F.2d 17, 18 (1st Cir. 1980). What is more salient, all the reasons
proffered in his motion in support of the withdrawal go against what he represented to the
Court during the various hearings in which he has participated since the inception of this case.
Thus, we have little trouble concluding that defendant has failed to show a fair and just reason
which would allow him to withdraw his plea of guilty.
       Accordingly, and for the reasons stated, the Motion to Withdraw Guilty Plea filed by
defendant Jacobo García pro se on September 26, 2005 (docket entry 116) is DENIED.
       SO ORDERED.
       At San Juan, Puerto Rico, on December 15, 2005.




                                                   S/CARMEN CONSUELO CEREZO
                                                   United States District Judge




       1
         As stated before, defendant pled guilty on August 25, 2005. While his motion to
withdraw the guilty plea was filed by the Clerk on September 26, 2005, it appears signed by
him on September 21, 2005 and the postmark on the envelope where he sent it is dated
September 23, 2005.
